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                  EXHIBIT D
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                BROILER CHICKEN CLAIM FORM
         FOR COMMERCIAL AND INSTITUTIONAL INDIRECT PURCHASERS
                                              GENERAL INFORMATION

The lawsuit alleges that Defendants and co-conspirators conspired to fix, raise, maintain, or stabilize prices and manipulate
the supply of broiler chicken (“Broilers”), resulting in overcharges. Broilers are defined as chickens raised for meat
consumption which are sold in a variety of forms, including fresh or frozen, raw or cooked, whole or in parts, or as a meat
ingredient. Defendants deny Plaintiffs’ allegations. The Court has not decided who is right.

Settlements totaling approximately $103 million have been reached with Defendants Amick Farms, LLC, Fieldale Farms
Corporation, George’s Inc. and George’s Farms, Inc., Mar-Jac Poultry, Inc., Mar-Jac Poultry MS, LLC, Mar-Jac Poultry
AL, LLC, Mar-Jac AL/MS, Inc., Mar-Jac Poultry, LLC and Mar-Jac Holdings, Inc., Peco Foods, Inc., Pilgrim’s Pride
Corporation, Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Breeders, Inc., and Tyson Poultry, Inc. (collectively, “Settling
Defendants”). The settlements will resolve claims on behalf of a class of Commercial and Institutional Indirect Purchaser
Plaintiffs, who purchased Broilers via intermediaries for use in commercial food preparation.

In order to be eligible to receive a payment from the Settlements your business must have made a Broiler purchase indirectly
from Defendants or their alleged co-conspirators in one of the following states between January 1, 2008, and July 31, 2019:
Arizona, California, Connecticut (for the Amick Farms settlement only), District of Columbia, Florida, Hawaii, Illinois,
Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New
Hampshire, New Mexico, New York, North Carolina, North Dakota, Oregon, Rhode Island, South Carolina, South Dakota,
Tennessee, Utah, Vermont, West Virginia, and Wisconsin (“Indirect Purchaser States”), for its own use in commercial food
preparation.

The specific definition of who is included in the Settlement Class are set forth in the Settlement Agreements and in the order
preliminarily approving the Settlements. The Settlement Agreements, the Preliminary Approval Orders, and the related
Complaints are accessible on the website www.xxxxxxxxxxxx.com.

YOU MUST SUBMIT A VALID CLAIM FORM NO LATER THAN _________, 2022 TO BE ELIGIBLE FOR
PAYMENT. IF YOU OPT OUT OF ONE OR MORE SETTLEMENTS, YOU WILL NOT BE ELIGIBLE TO FILE
A CLAIM AND RECEIVE PAYMENT FOR ANY SETTLEMENT FROM WHICH YOU HAVE OPTED OUT.

                                            CLAIM FORM INSTRUCTIONS
Your Claim will be considered only if you meet the following conditions:
    1. You must accurately complete all required portions of the attached Claim Form.
    2. You must sign the Claim Form, which includes the Certification. If you submit the form electronically, your
       electronic signature and submission of the form will have the same force and effect as if you signed the form on
       paper.
    3. By signing and submitting the Claim Form, you are swearing under penalty of perjury that you are a Settlement
       Class Member and the information you provide on the Claim Form is accurate.
    4. If you are submitting the Claim Form on behalf of another person or entity, indicate the capacity in which you are
       submitting the claim and proof of your authority to do so.
    5. You have two options for completing a Claim Form:




QUESTIONS? VISIT WWW.XXXXXXXXXXXXX.COM OR CALL 1-866-XXX-XXXX                                                   PAGE 1 OF 6
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           i.     You can mail the completed and signed Claim Form, postmarked no later than DATE, to:
                                                       Broilers CIIPP Settlement
                                                          c/o A.B. Data, Ltd.
                                                         P.O. Box XXXXXX
                                                        Milwaukee, WI 53217
                                                                   OR
          ii.     You can complete and submit the Claim Form using the Settlement Administrator’s website,
                  www.xxxxxxxxxxxxx.com. Upon completion of the online Claim Form, you will receive an
                  acknowledgement that your claim has been submitted. The online Claim Form must be submitted
                  no later than DATE. If you choose this option and file a claim electronically, your electronic
                  signature and submission of the form will conform to the requirements of the Electronic Signatures
                  Act, 15 U.S.C. § 7001, et seq., and will have the same force and effect as if you signed the Claim
                  Form in hard copy.
  6. Your failure to complete and submit the Claim Form postmarked or filed online by _______, 2022, may prevent
     you from receiving any payment from these Settlements. Claim Forms must be substantially complete at the time
     of submission to be considered timely filed. Submission of this Claim Form does not ensure that you will share in
     the payments. If the Settlement Administrator disputes a material fact concerning your Claim, you will have the
     right to present information in a dispute resolution process.
  7. At this time, it is unknown how much each Settlement Class Member that submits a valid claim will receive.
     Payments will be based on a number of factors, including the number of valid claims filed by all Settlement Class
     Members and the dollar value of each Settlement Class Member’s purchase(s) of Broilers in proportion to the total
     claims filed.
  8. Your claimed Broiler purchases must be broken down by Broiler category (breast products, whole bird products,
     wing products, and other products) and date of purchase as shown in Chart 1 and Chart 2 on this Claim Form. The
     Broiler categories are defined as follows:
          •     Whole Bird Products are products that contain breasts, wings, and dark meat together and include both
                chickens that are sold intact (with or without giblets) and chickens that have been cut up into halves,
                quarters, eight pieces, or nine pieces. Products can be marinated or seasoned but products that meet the
                definition of Further Processed Products (defined below) do not count as Whole Bird Products.

          •     Breast Products include both bone-in and boneless products that have meat from the breast and/or
                tenderloin of the chicken and do not also contain wings or dark meat. Products can be marinated or seasoned
                but products that meet the definition of Further Processed Products (defined below) do not count as Breast
                Products.

          •     Wing Products include both whole wings or products containing first joint (i.e., drumettes) and/or second
                joint (i.e., flats). Wings that are sold along with the breast are considered Other Products rather than Wing
                Products. Additionally, “boneless wings” do not count as Wing Products because they are made from
                further processed breast meat and are therefore included in Further Processed Products. Wing Products can
                be marinated or seasoned but wings that meet the definition of Further Processed Products (i.e., breaded
                and/or cooked wings) do not count as Wing Products.

          •     Other Products include Dark Meat Products, Further Processed Products and Other Miscellaneous Broiler
                Products. Dark Meat Products include bone-in and boneless thighs and drumsticks/legs, whether sold
                individually or together as leg quarters. Further Processed Products include any chicken meat that has been
                breaded, cooked, or formed, such as patties or nuggets; or products made from mechanically separated meat
                such as chicken sausages; or products that are ground, sliced, diced, or cubed; or meal products that contain
                chicken meat as an ingredient. Other Miscellaneous Broiler Products include other Broiler products that do
                not meet the definition of any of the above categories, such as chicken quarters containing a breast and a
                wing.
  9. Payments to Settlement Class Members will be made only: (1) if the Court approves the Settlements and after any
QUESTIONS? VISIT WWW.XXXXXXXXXXXXX.COM OR CALL 1-866-XXX-XXXX                                                  PAGE 2 OF 6
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       appeals are resolved, and (2) in accordance with the Plan of Allocation to distribute the Settlement Funds minus
       litigation expenses, notice and claims administration costs, class representative service awards, and Court-approved
       attorneys’ fees (“Net Settlement Fund”) to Settlement Class Members. The Plan of Allocation, as approved by the
       Court, will determine the amount, if any, that each Settlement Class Member will receive. The plan for these
       Settlements is to make a pro rata distribution to each Settlement Class Member that purchased their qualifying
       Broilers by part category in an Indirect Purchaser State (defined above) based upon the approved purchases of
       Broilers by part category per Settlement Class Member during the Settlement Class Period.
The information provided on this Claim Form or submitted through the Settlement Administrator’s website will be used
solely by the Court-approved Settlement Administrator for the purposes of administering the Settlements and will not be
provided to any third party or sold for marketing purposes.




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                                                         11/24/21
         MUST BE                     Northern District of Illinois
  POSTMARKED BY                                                                        FOR OFFICIAL
    ________, 2022                                                                       USE ONLY

  In re: Broiler Chicken Antitrust Litigation – Commercial & Institutional Indirect Purchaser Plaintiff Actions,
                                              Case No. 1:16-cv-08637

                                                CLAIM FORM
  NAME OF BUSINESS



  ADDRESS LINE 1                                                                                    SUITE/APT



  ADDRESS LINE 2


  CITY                                                             STATE                      ZIP



  EMAIL ADDRESS                                      MOBILE PHONE NUMBER



                                        PURCHASE INFORMATION

The Settlement Administrator has received Broilers purchase information for some but not all Settlement Class
Members and for some but not all purchases. If there are Purchase Amounts populated below, you have the option
to elect for that Purchase Amount to be your full amount claimed, with no requirement for providing further proof
of your purchase(s).

To elect the Purchase Amount reflected below to be your amount claimed, you must sign and date the Certification
included on page 5 of this Claim Form.

               CHART 1: KNOWN PURCHASE INFORMATION FROM DISTRIBUTORS
                                             Purchase Amount                      Purchase Amount
  Broiler Part Category
                                   January 1, 2008 - November 30, 2011      December 1, 2011 – July 31, 2019
  Whole Bird Products              $                                       $

  Breast Products                  $                                       $

  Wing Products                    $                                       $

  Other Products                   $                                       $

Claimants who believe that the amount(s) listed above is/are not correct for any reason, or who believe they
purchased more in Broilers than the amount(s) reflected above, may strike out the amount(s) above and complete

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the box below
         Case:and   indicate the correct
                1:16-cv-08637            amounts.
                                  Document         If the amount(s)
                                              #: 5214-4             above Page
                                                          Filed: 11/24/21 is/are struck, you must#:310254
                                                                                 6 of 7 PageID    provide proof of
purchase documentation supporting the total purchases for which you are submitting a claim. Supporting
documentation should include the product name, Broiler part category, name of Defendant manufacturer, quantity,
date of purchase, location of purchase, distributor purchased from, and net purchase amount.

If the boxes on the previous page are blank, it means the Settlement Administrator did not receive Broiler purchase
information for your claim and you therefore must complete Chart 2 below providing your purchase information
and include the available proof of purchase. You must provide proof of purchase documentation supporting the
total purchases for which you are submitting a claim, including documentation evidencing the product name,
Broiler part category, name of Defendant manufacturer, quantity, date of purchase, location of purchase, distributor
purchased from, and net purchase amount.

Please submit legible copies of supporting documentation. Do not send originals, but maintain the originals in your
records. Claimants may be requested to furnish additional information regarding this Claim Form that the Claims
Administrator, Class Counsel, or the Court may require.

         CHART 2: ONLY COMPLETE IF CHART 1 IS BLANK OR INCOMPLETE. MUST BE
                                      DOCUMENTED
                                    Purchase Amount                 Purchase Amount
  Broiler Part Category
                          January 1, 2008 - November 30, 2011 December 1, 2011 – July 31, 2019
  Whole Bird Products               $                                        $

  Breast Products                   $                                        $

  Wing Products                     $                                        $

  Other Products                    $                                        $

By signing this claim submission, I certify, under penalty of perjury, that the information included with this claim
submission is accurate and complete to the best of my knowledge, information, and belief. If I am submitting this
claim submission on behalf of a Claimant, I certify that I am authorized to submit this claim submission on the
behalf of the individual or entity. I am, or the individual or entity on whose behalf I am submitting this claim
submission is, a member of the Class, and have not submitted a request to exclude myself, or “opt out of,” the
Settlement. I agree to furnish additional information regarding this claim submission if requested to do so by the
Settlement Administrator.

        PRINT NAME                                                         TITLE



        SIGNATURE                                                          DATE


                                                  REMINDER
                                            Please make sure that you:
    1. Complete all sections of this Claim Form and include supporting documentation where applicable;
    2. Sign the Claim Form; and
    3. Submit your Claim Form by mail postmarked no later than _________, 2022, to:
                                            Broilers CIIPP Settlement

 QUESTIONS? VISIT WWW.XXXXXXXXXXXXX.COM OR CALL 1-866-XXX-XXXX                                         PAGE 5 OF 6
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                                                     Ltd.    Page 7 of 7 PageID #:310255
                                    P.O. Box XXXXXX
                                   Milwaukee, WI 53217




QUESTIONS? VISIT WWW.XXXXXXXXXXXXX.COM OR CALL 1-866-XXX-XXXX                       PAGE 6 OF 6
